OPINION — AG — QUESTION: CAN OR CANNOT A BOARD OF COUNTY COMMISSIONERS HAVE THE AUTHORITY TO PERMIT CONSTRUCTION OF A " CATTLE GUARD " ON A COUNTY HIGHWAY ? — NEGATIVE . . SEE OPINION CITE: 4 O.S.H. 115.4, 69 O.S.H. 44, 69 O.S.H. 325, 69 O.S.H. 592, 69 O.S.H. 157.1, 69 O.S.H. 157.3, 4 O.S.H. 115.4, 69 O.S.H. 281, 4 O.S.H. 115.1 (JAMES GARRETT)